                                                                                                  Electronically Filed - Greene - May 24, 2021 - 04:26 PM
                                                                            2131-CC00573

             IN THE CIRCUIT COURT OF GREENE COUNTY, MISSOURI
                                                                                   EXHIBIT A

WARREN DAVIS PROPERTIES XXV,          )
L.L.C., a Missouri limited liability company,
                                      )
                                      )
And                                   )
                                      )
DAVIS PROPERTY MANAGEMENT, L.L.C., )               CASE NO. ___________________
a Missouri limited liability company, )
                                      )
                       Plaintiffs,    )
                                      )
                       vs.            )
                                      )
ZURICH AMERICAN INSURANCE             )
 COMPANY, an Illinois corporation,    )
                                      )
And                                   )
                                      )
AMERICAN GUARANTEE AND                )
LIABILTIY INSURANCE COMPANY,          )
an Illinois corporation,              )
                                      )
                       Defendants.    )



                                          PETITION

       COMES NOW Plaintiffs, Warren Davis Properties XXV, L.L.C. (“WDP XXV”) and

Davis Property Management, L.L.C. (“DPM”) by and through their counsel of record Carnahan,

Evans, Cantwell & Brown, P.C., and for their cause of action against Defendants states, alleges

and avers as follows:

       1.     Plaintiff WDP XXV is a Missouri limited liability company, in good standing

with the authority to bring this action under its Operating Agreement, as amended. WDP XXV is

headquartered and conducts its business in Springfield, Greene County, Missouri.




        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 1 of 13
                                                                                                  Electronically Filed - Greene - May 24, 2021 - 04:26 PM
       2.      Plaintiff DPM is a Missouri limited liability company, in good standing with the

authority to bring this action under its Operating Agreement, as amended. DPM is headquartered

in Springfield, Greene County, Missouri and conducts its business in Missouri.

       3.      Zurich American Insurance Company (“Zurich”) is an Illinois corporation and a

wholly owned subsidiary of Zurich Insurance Group, Ltd., a Swiss insurance company

headquartered in Zurich, Switzerland. Zurich is a foreign insurance company authorized to do

business in the State of Missouri.

       4.      Zurich issues property and casualty insurance in Missouri through its wholly

owned subsidiary company, American Guarantee and Liability Insurance Company, an Illinois

corporation (“AGLIC)”. AGLIC is a foreign insurance company authorized to do business in the

State of Missouri.

       5.      Zurich and AGLIC use their names interchangeably in documents, advertising

and correspondence, including documents and correspondence delivered to DPM and WDP

XXV, and AGLIC is therefore the alter ego of Zurich. AGLIC issued an insurance policy to

DPM covering property in Springfield, Missouri, and this Court therefore has personal

jurisdiction over Zurich and AGLIC pursuant to Rule 54.06 (a) (1, 2 and 5).

       6.      Pursuant to Section 375.906 RSMo., Zurich and AGLIC may be served through

the Director, Deputy Director or the Chief Clerk of Office of the Missouri Department of

Commerce and Insurance at 301 W. High St., Room 530, Jefferson City, Missouri 65101.

       7.      This action involves a claim under a policy of property and casualty insurance

issued by Zurich through its subsidiary AGLIC to DPM and WDP XXV covering property in

Springfield, Missouri. Both Zurich and AGLIC are non-residents of Missouri, and this action




                                     2
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 2 of 13
                                                                                                      Electronically Filed - Greene - May 24, 2021 - 04:26 PM
involves no tort claims, so venue of this action in this Court is therefore authorized by Section

508.010.2(4) RSMo 2019.

       8.      WDP XXV is the owner of real property in Springfield, Greene County, Missouri

that is the subject of this action by virtue of a warranty deed recorded at Book 2010, Page

050265-10 in the land records of Greene County, Missouri. Said real property is located at 1100

N. Glenstone Avenue, Springfield, Missouri 65802, and was formerly and commonly known as

the Solo Cup plant (hereinafter “Solo plant”). The Solo plant has been redeveloped by WDP

XXV as a commercial and industrial warehouse facility since its purchase.

       9.      DPM is a property management company affiliated with and under common

ownership with WDP XXV. DPM exercises management control of the Solo plant for WDP

XXV, and its obligations include but are not limited to obtaining property and casualty insurance

covering the buildings at the Solo plant. DPM has an insurable interest in the Solo plant by virtue

of its management control of the property.

       10.     Upon acquiring the Solo plant in December 2010, DPM and WDP XXV insured

the building against property and casualty damage continuously to the present. DPM and WDP

XXV made no insurance claims under the policies issued covering the Solo plant from 2010

through January 10, 2020.

       11.     On or about January 7, 2019, Zurich’s Producer, Marsh USA Inc. (“Marsh”)

submitted a request for insurance to Zurich for property and casualty insurance on a number of

properties, including the Solo plant. Accompanying the request Marsh provided Zurich with a

listing of covered locations and values, and a named insured schedule that specifically listed the

Solo plant buildings and WDP XXV as the owner of the property.




                                     3
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 3 of 13
                                                                                                     Electronically Filed - Greene - May 24, 2021 - 04:26 PM
       12.     On or about January 30, 2019, Zurich and AGLIC issued a quote for property and

casualty insurance to DPM and WDP XXV to provide coverage for the Solo plant through

Zurich’s Producer, Marsh. DPM and WDP XXV requested that Zurich bind coverage on

February 29, 2019.

       13.     On or about March 1, 2019 Zurich and AGLIC issued a policy of property and

casualty insurance to DPM and WDP XXV, Policy Number ERP 0437166-00, effective March 1,

2019 through March 1, 2020, insuring the Solo plant for its full replacement cost against, among

other causes of loss, wind and hail damage (the “Policy”), a true copy of which is attached hereto

as Exhibit “A”.

       14.     Shortly after issuing the Policy, Zurich and AGLIC caused the entire Solo plant to

be inspected and provided DPM and WDP XXV a list of items needing attention or repair; that

list contained nothing related to the roof.

       15.     Prior to issuing the Policy to DPM and WDP XXV and until after the Claim (as

defined hereinafter) was made, Zurich and AGLIC did not advise DPM and WDP XXV of any

concerns about pre-existing hail damage to the roof, nor did they place any condition or

exclusion in the Policy relating to pre-existing hail damage.

       16.     Prior to January 10, 2020 the roof of the Solo plant was in good, watertight

condition considering the age, roof composition and size of the building, and DPM and WDP

XXV had not experienced any unusual, frequent or large water intrusions through the roof since

buying the building. The roof repairs made by DPM and WDP XXV prior to January 10, 2020

were small, spot repairs typical for a building of the Solo plant’s age and size.

       17.     The only exception to DPM’s and WDP XXV’s roof repair experience stated in

paragraph 16 was on a 40,000 square foot area of the Solo plant in the northwest portion of the



                                     4
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 4 of 13
                                                                                                    Electronically Filed - Greene - May 24, 2021 - 04:26 PM
building, where DPM and WDP XXV had the roof replaced with a TPO membrane roof in 2016

as a result of wind damage to that area. That area is depicted on the building drawing attached

hereto as Exhibit “B” and denoted as AREA 1.

       18.     On or about January 10, 2020 a severe wind and hailstorm struck the Solo plant

and buildings in the surrounding area (the “Storm”).

       19.     The Storm caused serious damage to the roof of the Solo plant. Within 30 minutes

of the Storm’s occurrence, DPM’s maintenance staff observed numerous serious water leaks in

the roof causing water intrusion into the building.

       20.     DPM and WDP XXV made emergency repairs to the roof of the Solo plant, at

their own significant expense, promptly after the Storm to protect the building and the tenants’

property.

       21.     The severity of the Storm was apparent as a number of vehicles in the parking lots

of the Solo plant, belonging to tenants’ employees, were either seriously damaged or rendered a

total loss by hail damage.

       22.     The severity of the Storm was also apparent due to the roof damage to adjacent

buildings, including two warehouse buildings owned and/or leased by Springfield

Remanufacturing Company (“SRC”). SRC leases the warehouse at 1925 E. Chestnut Expy. from

WDP XXV and carries insurance on it pursuant to the lease. SRC owns and insures the

warehouse at 2065 E. Pythian St. (the “SRC Warehouses”). The roofs of both warehouses had to

be replaced due to damage from the Storm.

       23.     On or about January 15, 2020, DPM and WDP XXV made a claim to Zurich and

AGLIC under the Policy relating to the damage to the Solo plant from the Storm (the “Claim”).




                                     5
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 5 of 13
                                                                                                     Electronically Filed - Greene - May 24, 2021 - 04:26 PM
        24.    Zurich and AGLIC acknowledged receipt of the Claim on or about January 16,

2020.

        25.    Zurich and AGLIC did not promptly accept responsibility for the Claim and the

roof damage to the Solo plant under the Policy.

        26.    As detailed herein after, Zurich and AGLIC failed to make a decision on DPM’s

and WDP XXV’s Claim for an unreasonable period of time.

        27.    During the time from the Storm until the present, DPM and WPD XXV have been

required to make numerous repairs to the roof of the Solo plant, due to the damage from the

Storm, at their own expense to protect the building and the tenants’ personal property and

inventory.

        28.    From the date of the Storm until the present, DPM and WDP XXV have

expended, at their own sole cost, the sum of at least $93,002.68 to make repairs to the Solo plant

roof and to inspect and test the roof, that should have been paid by Zurich and AGLIC. The

expenditures by DPM and WDP XXV for such roof repairs, inspections and tests are detailed in

Exhibit “C” attached hereto.

        29.    After DPM and WDP XXV made the Claim, Zurich and AGLIC investigated the

claim, including sending structural engineers and roofing consultants to examine the roof and

take photographs and samples of the roof material on or about January 27, 2020, February 24,

2020, March 25, 2020 and May 20, 2020.

        30.    Zurich and AGLIC’s consultant, JS Held issued reports of its inspections and

testing dated April 21, 2020, April 27, 2020, and June 17, 2020.




                                     6
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 6 of 13
                                                                                                       Electronically Filed - Greene - May 24, 2021 - 04:26 PM
       31.     The JS Held reports confirmed that the roof of the Solo plant was damaged, at

least in part, by the Storm. It further opined that the roof had prior hail damage before the Storm,

but it did not attribute any water leaks observed after the Storm to that prior damage.

       32.     Zurich’s and AGLIC’s consultant, JS Held, also examined the roofs of the

adjacent SRC Warehouses and reached the conclusion that the Storm had caused severe damage

to those roofs that required replacement of the roofs. The insurer of those warehouses, Chubb

Insurance Company, paid SRC’s claim to replace both roofs under the property and casualty

policy it issued to SRC.

       33.     DPM/WDP XXV also had the roof of the Solo plant inspected and tested by a

qualified consultant, Arrow Consulting Corporation.

       34.     On or about April 13, 2020, Arrow Consulting Corporation issued a report, a copy

of which was provided to Zurich, AGLIC and JS Held, opining that the roof of the Solo plant

was damaged in the Storm to the extent that the roof (except AREA 1 and the portions of the

roof with TPO membrane previously installed) needed to be replaced in their entirely.

       35.     Despite the receipt of DPM’s and WDP XXV’s consultant’s report and their own

investigation results, Zurich and AGLIC continued in their failure to acknowledge the validity

DPM and WDP XXV’s Claim and to accept responsibility for DPM’s and WDP XXV’s loss.

       36.     Zurich and AGLIC continued to stall in making a decision of DPM’s and WDP

XXV’s claim for an unreasonable period of time, beyond what a reasonable insurer would have

done under the circumstances.

       37.     On or about July 13, 2020, Zurich and AGLIC notified DPM and WDP XXV that

they were denying the Claim in its entirety. Zurich’s and AGLIC’s notice of denial of the Claim

is attached hereto as Exhibit “D”.



                                     7
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 7 of 13
                                                                                                    Electronically Filed - Greene - May 24, 2021 - 04:26 PM
       38.     On or about September 15, 2020 Zurich and AGLIC sent a letter to Marsh, again

stating that they were denying the Claim in its entirety. Zurich’s and AGLIC’s second notice of

denial of the Claim is attached hereto as Exhibit “E”.

       39.     The stated basis for the complete denial of DPM’s and WDP XXV’s Claim in

Exhibits D and E was that “the damage to the building resulting from hail impacts… predate

your policy period beginning on March 1, 2019.”

       40.     Zurich and AGLIC’s complete denial of the Claim ignored the results of its own

consultant’s reports, which stated that the roof was “damaged by hailstones on and before the

reported date of loss.” (emphasis added).

       41.     As a direct result of the damage from the Storm, a significant portion of the Solo

plant roof must be replaced in its entirety, except in AREA 1 on Exhibit B and areas with TPO

membranes (which require repairs in certain areas).

                             COUNT I – BREACH OF CONTRACT

       42.     DPM and WDP XXV restate, reallege and reaver each and every allegation

contained in paragraphs 1 – 41 of the Petition and incorporate the same herein by reference.

       43.     DPM and WDP XXV paid all premiums due under the Policy in a timely manner,

and Zurich and AGLIC accepted those premiums.

       44.     DPM and WDP XXV performed all duties and obligations required of it under the

Policy in a timely manner.

       45.     Zurich and AGLIC have breached the Policy by denying DPM’s and XXV’s

Claim in its entirety, and by refusing to accept any or all of the loss sustained by DPM and WDP

XXV as a result of the Storm.




                                     8
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 8 of 13
                                                                                                       Electronically Filed - Greene - May 24, 2021 - 04:26 PM
       46.       As a direct and proximate result of Zurich’s and AGLIC’s breach of the Policy,

DPM and WDP XXV have sustained damages for the cost of repairs, inspections and testing of

the roof and for the cost of replacing the entirety of the roof of the Solo plant, except for AREA

1 on Exhibit B and those areas with TPO membrane, where DPM and WWDP XXV are entitled

to the cost of repairs to the areas damaged in the Storm.

                 WHEREFORE, Plaintiffs DPM and WDP XXV pray the Court for judgment

against Defendants Zurich and AGLIC, for actual damages in sum as the trier of fact determines

to be fair and reasonable under the circumstances, and for interest at the legal rate since the date

of its Claim on all such damages, and for Plaintiffs’ costs and expenses herein incurred and

expended, and for such other and further relief as the Court deems just and proper in the

premises.

             COUNT II – VEXATIOUS REFUSAL TO PAY INSURANCE CLAIM

       47.       DPM and WDP XXV restate, reallege and reaver each and every allegation

contained in paragraphs 1 – 41 of the Petition and incorporate same herein by reference.

        48.      Zurich’s and AGLIC’s delay in extending its investigation of DPM’s and WDP

XXV’s Claim and in failing to accept responsibility for emergency repairs, inspections and

testing of the Solo plant roof for over five months after notice of the Claim was unreasonable

and excessive.

        49.      Zurich’s and AGLIC’s denial of the Claim was wrongful under the circumstances

in that its own expert consultants acknowledged that the loss was caused, at least in part, by the

Storm, yet Zurich and AGLIC denied the Claim in its entirety.

        50.      Zurich’s and AGLIC’s refusal to pay any or all of the loss under the Policy was

willful and without reasonable cause or excuse.



                                     9
        Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 9 of 13
                                                                                                  Electronically Filed - Greene - May 24, 2021 - 04:26 PM
          51.   DPM and WDP XXV are entitled to recover actual damages for breach of the

Policy.

          52.   Section 375.420 RSMo (2020) provides:

                In any action against any insurance company to recover the amount of

                any loss under a policy of automobile, fire, cyclone, lightning, life,

                health, accident, employers' liability, burglary, theft, embezzlement,

                fidelity, indemnity, marine or other insurance except automobile

                liability insurance, if it appears from the evidence that such company

                has refused to pay such loss without reasonable cause or excuse, the

                court or jury may, in addition to the amount thereof and interest, allow

                the plaintiff damages not to exceed twenty percent of the first fifteen

                hundred dollars of the loss, and ten percent of the amount of the loss in

                excess of fifteen hundred dollars and a reasonable attorney's fee; and the

                court shall enter judgment for the aggregate sum found in the verdict.

          53.   DPM and WDP XXV are entitled under Section 375.420 RSMo (2020) to

recover from Zurich and AGLIC damages for vexatious refusal to pay the Claim, in the

amount of twenty percent of the first $1,500 of the loss, plus ten percent of the amount of the

loss in excess of $1,500, plus an attorneys’ fee in such amount as the trier of fact determines

to be reasonable under the circumstances.

                WHEREFORE, Plaintiffs DPM and WDP XXV pray for judgment against

Defendants Zurich and AGLIC for damages for vexatious refusal to pay the Claim, in the

amount of twenty percent of the first $1,500 of the loss, plus ten percent of the amount of the




                                       10
          Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 10 of 13
                                                                                                       Electronically Filed - Greene - May 24, 2021 - 04:26 PM
loss in excess of $1,500, plus an attorneys fee in such amount as the trier of fact determines to be

reasonable under the circumstances, and for Plaintiffs’ costs and expenses herein incurred and

expended, and for such other and further relief as the Court deems just and proper in the

premises.

                                                             Respectfully submitted,

                                                             CARNAHAN, EVANS, CANTWELL
                                                                 & BROWN, P.C.

                                                             By:    /s/ John E. Price
                                                                    John E. Price
                                                                    Missouri Bar No. 28150
CARNAHAN, EVANS, CANTWELL
       & BROWN, P.C.
2805 S. Ingram Mill Road
P.O. Box 10009
Springfield, MO 65808-0009
Phone: (417) 447-4400
Fax: (417) 447-4401
Email: jprice@cecb.com
Attorneys for Plaintiffs




JEP/Davis/WDP XXV, LLC/Solo Plant Roof Suit/Petition final.doc
5-21-2021




                                       11
          Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 11 of 13
Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 12 of 13
Case 6:21-cv-03177-MDH Document 1-1 Filed 07/15/21 Page 13 of 13
